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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
RICHARD STRYKER,

                         Plaintiff,                16-cv-9424 (JGK)

             - against -                           ORDER

HSBC SECURITIES (USA), ET AL.,

                    Defendants.
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JOHN G. KOELTL, District Judge:

      The plaintiff filed a notice of motion to reopen discovery,

dated November 19, 2019 (Dkt. No. 227). The defendants filed an

opposition to this motion on November 27, 2019 (Dkt. No. 230).

The plaintiff filed another notice of motion to reopen

discovery, dated December 6, 2019 (Dkt. No. 233). The text of

both notices of motion in Dkt. Nos. 227 & 233 are the same, but

Dkt. No. 233 also attached a declaration in support of the

motion to reopen. The defendant may submit any further

opposition to the motion to reopen by December 23, 2019. The

plaintiff may file any reply by January 6, 2020.



SO ORDERED.


Dated:       New York, New York
             December 13, 2019           ____/s/ John G. Koeltl _______
                                                John G. Koeltl
                                          United States District Judge


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